                  Case 19-25604-RAM     Doc 34   Filed 03/11/20   Page 1 of 2

                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                                                             CASE NO.: 19-25604-BKC-RAM
                                                           PROCEEDING UNDER CHAPTER 13

IN RE:

JUDITH HOLMES

_____________________________/
DEBTOR

                   NOTICE OF CONTINUED CONFIRMATION HEARING

   YOU ARE HEREBY NOTIFIED that the Confirmation Hearing has been continued to April 07,
2020 at 01:35 pm at UNITED STATES BANKRUPTCY COURT, C. CLYDE ATKINS UNITED
STATES COURTHOUSE, 301 NORTH MIAMI AVENUE, COURTROOM 4, MIAMI, FL 33128 .

   I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Continued
Confirmation Hearing was mailed to those parties listed below on this 11th day of March, 2020.




                                                   /s/ Nancy K. Neidich
                                                  _____________________________________
                                                   NANCY K. NEIDICH, ESQUIRE
                                                   STANDING CHAPTER 13 TRUSTEE
                                                   P.O. BOX 279806
                                                   MIRAMAR, FL 33027-9806
               Case 19-25604-RAM   Doc 34   Filed 03/11/20   Page 2 of 2
                                                  NOTICE OF CONTINUED CONFIRMATION HEARING
                                                                   CASE NO.: 19-25604-BKC-RAM

                                   SERVICE LIST

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

DEBTOR
JUDITH HOLMES
17720 NW 41 AVENUE
OPA LOCKA, FL 33055

ATTORNEY FOR DEBTOR
CAROLINA A. LOMBARDI, ESQUIRE
LEGAL SERV. OF GREATER MIAMI
4343 W FLAGLER STREET
SUITE 100
MIAMI, FL 33134

CAROLINA A. LOMBARDI, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY
OF THIS NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON
RECEIPT THEREOF.
